                                  Exhibit J




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A12       | Thursday, February 14, 2019                                |    The Record


                                                                                                                                                                TODAY                                 TONIGHT                                      FRIDAY                           SATURDAY                                                 SUNDAY                                  MONDAY
                                                           We will see on-and-off rain today and tomor-
                                                           row. Winds will continue to be gusty through-
                                                           out the day. Friday and Saturday will have less
                                                           wind with scattered showers. Sunday should
                                                                                                                                                                Showers                                 Showers                                     Showers                     Lingering showers                                 Cloudy, showers around                            Partly sunny
                                                           be dry.
                                                                                                                                                              Stockton: 59                           Stockton: 46                             Stockton: 55/43                     Stockton: 56/39                                     Stockton: 54/34                              Stockton: 56/34
                                                                                                                                                               Tracy: 60                               Tracy: 43                               Tracy: 55/42                         Tracy: 55/38                                       Tracy: 53/35                                 Tracy: 56/33
Watch chief meteorologist Mark Finan’s weathercasts weekdays at 5 p.m., 6 p.m., 6:30 p.m. and 11 p.m. only on KCRA 3.

Almanac                                                                    The State                                                                                                                                                                                     The Nation
Stockton through 5 p.m. yesterday
Temperature                                                                                                                                                                                                                                                                                 Seattle                                                                                                       110s
                                                                                                                                                                                                                                                                                            42/36
High/low . . . . . . . . . . . . . . . . . . . . . . . . . . . 61/47           How to read the map                                                                                                    Placerville                                                                                                                                                                                         100s
                                                                                                                                                                                                                                                                                                                       Billings
Normal high/low . . . . . . . . . . . . . . . . . . . . 60/40                  Stockton - Location                                                                                                    55/39                                       South Lake Tahoe                                                     16/8                                                                               90s
Precipitation                                                                  87/66      - Today’s high/low                                                                                          53/44/1.71                                  42/24                                                                                     Minneapolis
                                                                                                                                                                                                                                                                                                                                            24/-4                        Detroit                          80s
24 hours through 5 p.m. yest. . . . . . . . . . 0.90”                          86/59/0.13 - Yesterday’s high/low and precipitation amount                             Sacramento                                                                  44/30/1.83                                                                                                             41/28         New York
                                                                                                                                                                                                                                                                                                                                                                                       44/39              70s
Season to date . . . . . . . . . . . . . . . . . . . . . . . 11.15”                               * estimated                                                         58/45
Last season to date . . . . . . . . . . . . . . . . . . 3.99”                                                                                                         53/44/1.63                                                                                                                                                   Denver                      Chicago                                    60s
                                                                                                                                                                                                                                                                                                                                   52/24                       44/11                   Washington
Normal season to date . . . . . . . . . . . . . . . 8.99”                      Santa Rosa                       Napa                                                                                   Jackson                                                                      San Francisco
                                                                                                                                                                                                                                                                                    57/46
                                                                                                                                                                                                                                                                                                                                                                                       54/47              50s

                                                                               56/40                                                 Fairfield                                                         54/39                                                                                                                                         Kansas City                                          40s
UV Index                                                                                                        58/43                                                                                  53/44/1.08                                                                                                                                    47/14
                                                                               52/43/3.58                       52/44/1.45           58/43                                                                                                                                                Los Angeles
                                                                                                                                                                                                                                                                                                                                                                                                          30s
                                                                                                                                     52/41/1.83            Galt                                                                                                                           62/49                                                                           Atlanta
                                                                                                                                                                           Lodi                                                                                                                                                                                                                           20s
                    1                                                                                                                                      57/43                      Linden                       San Andreas                                                                                           El Paso                                          64/48
                                                                                                                                                                           58/43                                                                                                                                         75/59
                                                                                                                                                           57/45/0.82                                              55/39                                                                                                                                                                                  10s
                    1                                                                                                                                                      57/48/0.64 58/43                        *56/46/0.77                                                                                                                                                                             0s
                                                                                                                                                                                      *59/48/0.79
                                                                                                                                    Vallejo                                                                                                                              Shown are the noon positions of                                          Houston                            Miami                -0s
                    1                                                                 San Rafael                                    59/45                                                                                                                                weather systems and precipitation.                                       74/61                              77/65
                                                                                      57/44                                         52/45/0.82                  Stockton                                Angels Camp                Sonora                                Temperature bands are highs for the day.
                                                                                                                                                                                                                                                                         Forecast high/lows are for selected cities.
                                                                                                                                                                                                                                                                                                                                                                                                          -10s
The higher the AccuWeather.com UV Index™ number, the greater the                      57/44/3.31                                                                59/46                                   51/38                      55/40
need for eye and skin protection. 0-2 Low; 3-5 Moderate; 6-7 High;
8-10 Very High; 11+ Extreme.                                                                                                         Oakland
                                                                                                                                                                61/47/0.90              Manteca         *55/46/0.79                *56/41/0.66
                                                                                               San Francisco                         58/46                                              61/45
Minutes a fair-skinned person can stay                                                                                                                                                  57/46/0.59
                                                                                               57/46
in the sun from 9 a.m.-5 p.m. before
unprotected skin is damaged.
                                                       60                                      63/47/1.41
                                                                                                                                     61/48/1.48
                                                                                                                                                                                                                                                         Yosemite
                                                                                                                                                                                                                                                                         City
                                                                                                                                                                                                                                                                         Albany
                                                                                                                                                                                                                                                                                                       Hi / Lo / W
                                                                                                                                                                                                                                                                                                      37/28/pc
                                                                                                                                                                                                                                                                                                                                  City
                                                                                                                                                                                                                                                                                                                                  Flagstaff
                                                                                                                                                                                                                                                                                                                                                          Hi / Lo / W
                                                                                                                                                                                                                                                                                                                                                          41/29/r
                                                                                                                                                                                                                                                                                                                                                                         City
                                                                                                                                                                                                                                                                                                                                                                         Omaha
                                                                                                                                                                                                                                                                                                                                                                                                 Hi / Lo / W
                                                                                                                                                                                                                                                                                                                                                                                                32/3/c
                                                                               110s                                                                                     Tracy                                                                            48/32           Albuquerque                  58/44/c                     Hartford                39/30/pc       Orlando                75/54/s
Air Quality                                                                                           San Mateo                                     Livermore           60/43               Modesto
                                                                               100s
                                                                                                                                                    57/43               59/43/0.95          62/45                 Atwater                                40/33/1.06      Anchorage                    15/0/s                      Honolulu                75/65/sh       Philadelphia           47/39/pc
                                                                                                      58/48                                                                                                       62/47                                                  Atlanta                      64/48/pc                    Indianapolis            49/24/c        Phoenix                61/53/r
                                                                                90s                   61/49/0.76                 Fremont            64/44/1.37                              61/49/0.18
                                                                                                                                 59/47                                                                            *59/47/0.67                                            Baltimore                    51/41/pc                    Jacksonville            71/46/s        Pittsburgh             47/41/c
                                                                                80s                                                                                                                                                                                      Bismarck                     2/-20/pc                    Juneau                  33/13/c        Portland, ME           37/22/pc
                  Unhealthy Unhealthy Very Hazardous
Good Moderate (sensitive)                                                                                                        62/36/0.74                                      Newman
                                     Unhealthy
                                                                                70s                                                                      San Jose                62/45                                                                                   Boise                        48/36/sh                    Kansas City             47/14/c        Portland, OR           42/37/r
Source: Airnow.gov                                                                                  Half Moon Bay                                        59/47                   *59/47/0.60                                 Merced                                      Boston                       40/33/s                     Las Vegas               56/44/r        Raleigh                63/46/pc
                                                                                60s                 58/45                                                61/48/0.24
Pollen                                                                                              64/47/0.59
                                                                                                                                                                                                                             63/46                                       Buffalo                      39/35/c                     Little Rock             66/46/c        Reno                   49/32/r
                                                                                50s                                                                                                                                          61/49/0.18                                  Cheyenne                     44/22/pc                    Louisville              58/39/c        St. Louis              59/20/c
                                                                                40s                                                                                   Gilroy                                                                                             Chicago                      44/11/c                     Medford                 48/34/r        Salt Lake City         50/37/sh
                                                                                                                           Santa Cruz                                 57/45                        Los Banos
  Absent      Low          Moderate          High        Very High                                                         58/47                                                                                                                         Fresno          Cincinnati                   52/35/c                     Memphis                 64/48/c        San Antonio            71/55/pc
                                                                                30s                                                                                   63/48/0.58                   63/44                            Madera
Source: National Allergy Bureau                                                                                            57/48/1.75                                                                                               64/48                63/46           Cleveland                    46/36/c                     Miami                   77/65/pc       Santa Fe               54/40/c
                                                                                20s                                                                                                                60/36/0.02
                                                                                                                                                                                                                                    65/51/0.06           64/51/0.04      Dallas                       77/50/pc                    Milwaukee               42/11/c        Seattle                42/36/r
Tides (Stockton)                                                                10s                                                                                                                                                                                      Denver                       52/24/pc                    Minneapolis             24/-4/sn       Sioux Falls            20/-8/c
Today          Time
                             Tidal
                            Height             Time
                                                             Tidal
                                                            Height               0s
                                                                                                                                                                 Salinas                                                                                                 Des Moines                   35/2/c                      Nashville               61/49/c        Spokane                33/28/sn
                                                                                                                                  Monterey                       60/47                                                                                                   Detroit                      41/28/c                     New Orleans             72/60/c        Tampa                  74/57/s
High       1:54 a.m.          2.6          12:13 p.m.         4.0               -0s            Shown is today’s weather.                                         65/48/0.04
                                                                                                                                  58/47                                                                                                                 Selma            Duluth                       23/-1/sn                    New York City           44/39/pc       Tulsa                  69/29/pc
Low        6:43 a.m.          1.2           9:12 p.m.         0.3                              Temperatures are today’s
                                                                                                                                                                                                                                                        62/46
Friday                                                                         -10s            highs and tonight’s lows.          68/49/0.23                                                 Forecasts and graphics, except for KCRA forecasts,                          El Paso                      75/59/pc                    Oklahoma City           69/31/pc       Washington, DC         54/47/pc
                                                                                                                                                                                             provided by AccuWeather, Inc. ©2019                        61/47/0.12
High       3:02 a.m.          2.9           1:17 p.m.         4.2                                                                                                                                                                                                        The World
Low        7:54 a.m.          1.3         10:09 p.m.          0.1                                                                                 City                   Hi / Lo / W       City                    Hi / Lo / W        City                 Hi / Lo / W   City                          Hi / Lo / W                City                    Hi / Lo / W    City                    Hi / Lo / W
Water Storage                                                              Sun and Moon                                                           Alturas               43/24/sn           Mammoth Lakes 37/22/sn                     Salinas          60/47/r           Athens                       52/41/c                     Kabul                   42/23/pc       Rome                   60/40/pc
As of midnight Wednesday
                                                                                                                                                  Bakersﬁeld            67/47/r            Marysville    58/44/r                      San Diego        64/57/r           Baghdad                      64/51/sh                    London                  55/38/s        Seoul                  37/23/pc
                                                                           Sunrise . . . . . . . . . . . . . . . . . . . . . . . . . 6:56 a.m.    Barstow               59/42/r            Mendocino     55/45/r                      San Francisco    57/46/r           Beijing                      28/16/sn                    Madrid                  58/33/s        Singapore              89/78/pc
Reservoir                    Capacity            Storage         %
                                                                           Sunset . . . . . . . . . . . . . . . . . . . . . . . . . . 5:42 p.m.   Bodega Bay            57/48/r            Monterey      58/47/r                      San Gabriel      61/48/r           Berlin                       49/33/c                     Manila                  87/75/s        Stockholm              43/37/c
Camanche        417,120                       321,664           77
                                                                           Moonrise today . . . . . . . . . . . . . . . . . 12:39 p.m.            Chico                 57/43/r            Napa          58/43/r                      San Luis Obispo 59/47/r            Bermuda                      68/62/r                     Mexico City             77/52/pc       Sydney                 77/64/pc
New Hogan      317,000                        183,733           58
                                                                           Moonset Friday . . . . . . . . . . . . . . . . . . 3:27 a.m.           Concord               59/46/r            Needles       60/48/r                      Santa Barbara 63/47/r              Buenos Aires                 74/59/c                     Montreal                26/16/pc       Tel Aviv               65/49/sh
New Melones 2,420,000                       1,924,870           80
Measurement in acre-feet                                                      Full             Last                  New                First     Davis                 58/45/r            Palm Springs  63/48/r                      Santa Cruz       58/47/r           Cairo                        62/52/pc                    Moscow                  29/25/pc       Tokyo                  45/34/c
                                                                                                                                                  Death Valley          65/50/r            Paso Robles   59/44/r                      South Lake Tahoe 42/24/r           Frankfurt                    48/32/s                     Nassau                  77/69/sh       Toronto                34/31/c
     Wood Burning                                                                                                                                 Eureka                53/43/r            Red Bluff     55/40/r                      Ukiah            52/39/r           Geneva                       54/34/pc                    Oslo                    41/36/pc       Vienna                 49/33/c
                                                                                                                                                  Lancaster             55/41/r            Redding       53/39/r                      Ventura          62/50/r           Hong Kong                    74/67/pc                    Paris                   54/34/s        Warsaw                 43/36/c
               Burning discouraged                                            Feb 19           Feb 26             Mar 6           Mar 14          Los Angeles           62/49/r            Riverside     59/41/r                      Yosemite         48/32/r           Jerusalem                    54/37/s                     Rio                     81/75/pc       Zurich                 52/29/pc
                                                                                                                                                                                                                                                                                              Legend: s-sunny, pc-partly cloudy, c-cloudy, sh-showers, t-thunderstorms, r-rain, sf-snow flurries, sn-snow, i-ice




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US says it’s time to expand coalition against IS
By Robert Burns                                                                                                 have made that suggestion,            gone, the official said. No        numbers of its fighters could
The Associated Press                                                                                            frankly.”                             representatives committed          migrate beyond the Middle
                                                                                                                   CNN quoted him further as          to keeping troops there after      East, to Africa, for example.
   MUNICH, Germany — The                                                                                        saying IS “still has leaders, still   the U.S. leaves, raising the         Gen. Thomas Waldhauser,
top Pentagon official said                                                                                      has fighters, it still has facili-    possibility of clashes between     commander of U.S. Africa
Friday he foresees a “bigger                                                                                    tators, it still has resources, so    Turkey — a U.S. NATO ally —        Command, said in an inter-
and stronger” American-led                                                                                      our continued military pressure       and the U.S.-backed Syrian         view with a small group of
international coalition com-                                                                                    is necessary to continue to go        fighters known as the Syrian       reporters Friday that he is
batting the Islamic State group                                                                                 after that network.”                  Democratic Forces, which           not yet seeing evidence of
globally as the U.S. withdraws                                                                                     Votel is leaving his post          suffered heavy casualties in       IS movements into Africa,
its troops from Syria.                                                                                          shortly.                              fighting IS. The Turks view        although he said this cannot
   Pat Shanahan, on his first trip                                                                                 Shanahan said the United           the Kurdish members of the         be ruled out.
abroad as the acting secretary                                                                                  States will “continue to sup-         SDF as terrorists and a treat        Shanahan said he and his
of defense, made his comment                                                                                    port our local partners’ ability      to Turkey.                         counterparts discussed the
after meeting in Munich with                                                                                    to stand up to the remnants of          In his public remarks,           future of their coalition,
representatives of the dozen or                                                                                 ISIS,” but he did not explain         Shanahan said that in Syria,       which was developed during
so countries that provide troops         Acting United States Secretary of Defense Patrick Shanahan talks       how that will be done.                IS has lost most of its leader-    the Barack Obama adminis-
in Iraq and Syria.                       to the media Friday at a meeting of ministers of defense during           A senior defense official,         ship and resources — though        tration after U.S. forces took
   “While the time for U.S.              the International Security Conference in Munich, Germany. [TOBIAS      speaking later, said Shanahan         he didn’t say it’s lost 100 per-   on IS directly in 2014 with a
troops on the ground in north-           HASE/DPA VIA AP]                                                       did not discuss a timetable           cent of its territory.             return of U.S. troops to Iraq
east Syria winds down, the                                                                                      for the U.S. withdrawal from            “Together, we have elimi-        as advisers and the start of a
United States remains commit-            suggest Friday that the job had    and prompted Jim Mattis to          Syria, which other officials          nated the group’s hold over        bombing campaign against IS
ted to our coalition’s cause, the        been completed.                    resign as defense secretary.        have said is expected to be           99 percent of the territory        in Syria.
permanent defeat of ISIS, both             “We have a lot of great             Gen. Joseph Votel, who as        completed in April. The coali-        it once claimed as part of           “I, for one, envision an even
in the Middle East and beyond,”          announcements having to do         head of U.S. Central Command        tion partners did not take            its so-called caliphate,” he       bigger and stronger coalition
Shanahan said in remarks to              with Syria and our success with    is overseeing military opera-       issue with the U.S. with-             said. “We have ensured ISIS        going forward — one that has
reporters.                               the eradication of the caliphate   tions against IS in Syria and       drawal, indicating they see it        no longer holds the innocent       evolved to meet the global
   The U.S. has about 2,000              and that’ll be announced over      Iraq, said last week that he was    as an irreversible decision, the      people of Syria or Iraq in its     threat posed by ISIS’s offshoots
troops in Syria and about 5,200          the next 24 hours and many         not consulted before Trump          official said, speaking on con-       murderous iron fist.”              and its murderous ideol-
in Iraq.                                 other things,” the president       made his decision.                  dition of anonymity to discuss          IS militants are holed up        ogy,” he said. It needs to look
   President Donald Trump said           told reporters.                       In an interview with CNN on      the closed-door talks.                in the last sliver of land in      beyond Syria and Iraq to face
on Feb. 6 that the Islamic State           Trump’s decision in              Friday, Votel went a step fur-         The focus of the meet-             eastern Syria as U.S.-backed       the militants’ broader threat
was within a week of losing all          December to pull out of Syria      ther, saying, “It would not have    ing, on the topic of Syria,           forces are closing in.             in other parts of the world
the territory it once controlled         angered some allies, con-          been my military advice at that     was how to avoid a security             As IS retreats in Syria,         including Afghanistan and the
in Syria and Iraq. He seemed to          founded U.S. military officials    particular time ... I would not     vacuum once U.S. troops are           some worry that substantial        Philippines, he said.



Chicago police arrest 2 black suspects in attack on Smollett
By Don Babwin                            comment on a possible motive.      said he did not know what the          Guglielmi said police have
The Associated Press                       Smollett, who is gay, has        man’s job was.                      not found any surveillance
                                         said two masked men shouting         Guglielmi said police also        video of an attack but continue
  CHICAGO — The investi-                 racial and anti-gay slurs and      searched the Chicago apart-         to look. He said police also are
gation into black actor Jussie           “This is MAGA country!” beat       ment where the men lived. But       contacting stores in the hope
Smollett’s account of being              him and looped a rope around       he said he had no information       of finding out who bought
beaten in a racist, anti-gay             his neck early on Jan. 29 before   on what was found.                  the rope that was around
attack took a sharp turn Friday          running away. He said they also      The police spokesman’s            Smollett’s neck.
when police announced the                poured some kind of chemical       comments followed a furious            In an interview with ABC
arrest of two black men they             on him.                            24 hours that included local        News, the singer and actor said
believe assaulted the “Empire”             The police spokesman said        media reports that the attack       he didn’t remove the rope from
cast member.                             that there is “no evidence to      was a hoax.                         around his neck before police
  At least one of the men                say that this is a hoax” and         Police said those reports         arrived “because I wanted
worked on the TV show, police            that Smollett “continues to be     were unconfirmed. And the           them to see.”
said.                                    treated by police as a victim,     producers of “Empire” dis-             Smollett also said he ini-
  Police spokesman Anthony               not a suspect.”                    puted as “patently ridiculous”      tially refused to give police his
Guglielmi said authorities had             The two suspects, identified     news reports that Smollett’s        cellphone because the device
probable cause to believe the            only as Nigerian brothers, were    character was being written out     contained private content and
suspects committed assault               picked up at Chicago’s O’Hare      of the show before the attack.      phone numbers. He later gave
and battery against Smollett.            Airport on Wednesday on their        Smollett, 36, has said he was     detectives heavily redacted
But they had not been charged            return from Nigeria after police   attacked while out getting food     phone records that police             In this May 20, 2016, ﬁle photo, actor and singer Jussie Smollett
as of Friday afternoon.                  learned at least one worked on     at a Subway sandwich shop in        have said are insufficient for        attends the “Empire” FYC Event in Los Angeles. [RICHARD SHOTWELL/
  Guglielmi would not                    “Empire,” Guglielmi said. He       downtown Chicago.                   an investigation.                     INVISION/AP, FILE]




STORMS                                                                      Los Angeles, had a heart attack
                                                                            and died. About 50 miles east,
                                                                                                                            FIND US ONLINE AT WWW.RECORDNET.COM
                                                                            a man was found dead after
From Page A3                                                                floodwaters swept him away
                                                                            in a rural community. A man’s
                                                                            body also was recovered from a
sheriff’s Lt. Andrew Scott said                                             fast-flowing creek in Escondido,
in a tweet with a video of the                                              northeast of San Diego.
snow-covered road.                                                             There’s potential for more
   About 140 miles southeast                                                roadway flooding in the
of Lake Tahoe, Mammoth                                                      Northern San Joaquin Valley
Mountain was about to break                                                 in the next couple of days. The
a more than 30-year record                                                  National Weather Service pre-
for monthly snowfall, resort             Bruce MacDonell carries his        dicts rain likely today, followed
spokesman Justin Romano said.            neighbor, Annie Lovell, through    by possible showers Sunday.
Skiers and snowboarders should           a ﬂooded area of Guerneville       Presidents Day is looking
be able to reach the slopes as           on Friday. Streets and low-lying   clear but chilly, with highs in
long as they have chains or snow         areas ﬂooded as the Russian        the 50s and lows in the 30s.
tires, he said.                          River swelled above its banks.     Another storm could move in
   The resort has already gotten         [JOSH EDELSON/AP]                  Wednesday, forecasters said.
163 inches of snow this month,                                                 The week of wet weather
just 5 inches shy of its snowfall        was not cut off.                   pushed rainfall totals across
record for February, set in 1986.           In other parts of California,   Northern California above 100
   The storms heavily damaged            crews turned to cleanup after      percent of their historical aver-
— and in some places destroyed           a storm Thursday led to at least   ages, and the U.S. Drought
— parts of roads leading to              three deaths.                      Monitor reports that just 10 per-
Idyllwild and other mountain                A woman pulled from rising      cent of California’s land area is
communities about 100 miles              water in a flood-control chan-     in any kind of drought condition,
east of Los Angeles, but access          nel in Corona, southeast of        even a modest one.



SHOOTER                                  he prepared to depart for a
                                         weekend trip to his home in
                                         Palm Beach, Florida. Trump
                                                                            enforcement officers in Aurora
                                                                            and offered his condolences to
                                                                            the victims and their families.
From Page A1                             tweeted his thanks to law          “America is with you,” he said.


   “This is a strange thing to
come home to, right,” she said.
She had just learned that the
shooter lived close by and his
unit in the complex had been
taped off by police.
   Christy Fonseca often worries
about some of the gang-related
crimes and shootings around her
mother’s Aurora neighborhood.
But she never expected the type
of phone call she got from her
mom on Friday, warning her to
be careful with an active shooter
loose in the town.
   Police cars with screaming
sirens revved past her as she
drove to her mother’s house,
where the Henry Pratt build-
ing is visible from the porch
stoop. it was only when they
flipped on the television news
that they realized Martin had
killed people just a few hun-
dred feet away.
   “In Aurora, period, we’d
never thought anything like
this would happen,” Fonseca,
a lifelong resident of the
Chicago suburb, said as she
looked out at the factory.
   The White House said
President Donald Trump was
briefed on the shooting and
monitoring the situation as
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FRIDAY, FEBRUARY 15, 2019                                                                                                                                                                                                         111            BAY AREA NEWS GROUP                                                  CA15




Marketplace
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                                                               General                      General Help              Rooms for Rent                                           Legal Notice                    Legal Notice                             Legal Notice                            Legal Notice
                                                               Merchandise                  Wanted                                                                                      g                                                                      y
                                                                                                                      CUPERTINO Furn., NS/                                   began transacting busi-         Co. on 02/07/2019.                             By: /s/ Mike Louie,               /registrant(s) is:
                                                                                                                     drug/pet,clean/quiet                                    ness under the fictitious          Regina Alcomendras,                                      Deputy               Charles Milani, 5717 La
                                                                                           ACCOUNTING                Shared BA/Util $1100+                                   business name(s) listed          County Clerk Recorder                      File No.: FBN650417                  Seyne Place, San Jose,
                                                                                                                      last & dep 408-777-9069
                                                               ATTENTION                   TVU       Networks
                                                                                           C o rp o ra t io n
                                                                                                                     FREMONT Beaut. hm!
                                                                                                                                                                             above on:
                                                                                                                                                                             January 1, 2019
                                                                                                                                                                                                                    By: /s/ Vee Reed,
                                                                                                                                                                                                                                Deputy
                                                                                                                                                                                                                                                            SJMN#6284449
                                                                                                                                                                                                                                                                Jan.25,
                                                                                                                                                                                                                                                                                              CA 95138
                                                                                                                                                                                                                                                                                              The      registrant/owner
                                                                NEW OFFER!!                (Mountain      View,
                                                                                           CA) seeks Global           mature minded, 880/680                                 This filing is first filing       File No.: FBN651161                          Feb.1,8,15,2019                   began transacting busi-
                                                                                           Accounting      Spe-      N/S $879 916-728-0221                                   I declare that all infor-            SJMN#6294827                                                                ness under the fictitious
                                                                  BUY 2 WEEKS                                                                                                                                                                          FICTITIOUS BUSINESS
                                                                  GET 2 WEEKS              cialist with bache-                                                               mation in this state-                  Feb. 15,22,                                                               business name(s) listed
                                                                                           lor’s in account-         MOTHER OLSON’S INN                                      ment is true and cor-                 Mar.1,8,2019                          NAME STATEMENT                       above on: N/A
                                                                      FREE                                                                                                                                                                              File No. FBN650440
                                                                                           ing, business ad-          kitch, Cable, 32" TV                                   rect. (A registrant who                                                                                          This filing is first filing
                                                                 Place an ad* to           ministration, or fi-      130N8SJ, 408.998.0223                                   declares as true infor-           FICTITIOUS BUSINESS                   The following person(s)                  I declare that all infor-
                                                                 sell any type of          nance + 2 yrs exp          $225 to $245 per wk                                    mation which he or she              NAME STATEMENT                      is (are) doing business                  mation in this state-
                                                                   Merchandise             in AR, AP, and                                                                    knows to be false is               File No. FBN651036                   as: MG TAX SERVICES,                     ment is true and cor-
                                                                    (Furniture,            general      ledger.       SAN JOSE N.                                                                                                                    1724 Junction Ave, Suite
                                                                                           Must have work             Male, $750 + $500 D                                    guilty of a crime.)             The following person(s)                                                          rect. (A registrant who
                                                                 Collectibles, etc.)                                                                                                    /s/ Greg Smith,      is (are) doing business                 E, San Jose, CA 95112,                   declares as true infor-
                                                                  AND RECEIVE              experience         in        RENTED!
                                                                                           each of the fol-                                                                     Ronald W Carpenter Jr        as: TABLA NIKETAN, 510                  Santa Clara County.                      mation which he or she
                                                                  2 WEEKS FREE                                                                                                                                                                       The business is owned
 Announcements                     Announcements                 WHEN YOU BUY              lowing: 1) US and
                                                                                           Chinese       GAAP;
                                                                                                                     SAN JOSE (West)
                                                                                                                      nr Cupertino mstr
                                                                                                                                                  Business                    Ministries Inc Secretary
                                                                                                                                                                                          /Treasurer
                                                                                                                                                                                                             Lawrence Express Way
                                                                                                                                                                                                             Suite 104, Sunnyvale, CA                by: an individual. The
                                                                                                                                                                                                                                                                                              knows to be false is
                                                                                                                                                                                                                                                                                              guilty of a crime.)
                                                                  A 2 WEEK AD!!
                                                                                           2) reconciling in-          bd, priv ba & en-          Opportunities              Article/Registration #:         94085,       Santa      Clara           name and residence ad-                         /s/ Charles Milani
                                                               Call for more info.         tercompany        ac-        trance, util incl                                    CA Corporations Code            County.                                 dress of the owner(s)                    This statement was

      ATTENTION!!                                              1-800-733-3933              counts receivable
                                                                                           and payable, debt
                                                                                                                      $1250 408-710-9940
                                                                                                                                                 DID YOU KNOW that           2105.     Above
                                                                                                                                                                             formed in the State of
                                                                                                                                                                                                    entity   The business is owned
                                                                                                                                                                                                             by: a Married Couple.
                                                                                                                                                                                                                                                     /registrant(s) is: Maria
                                                                                                                                                                                                                                                     Graciela Canchola, 1724
                                                                                                                                                                                                                                                                                              filed with the Co. Clerk-
                                                                                                                                                                                                                                                                                              Recorder of Santa Clara
                                                                  M-F 8am-5pm              and        accruals;                                  not only does news-
                                                                   Option #1               3) performing ac-                         paper media reach a                     SC. This statement was          The name and resi-                      Junction Ave Suite E,                    Co. on 01/30/2019.
                                                                *some restrictions         counting       func-       Shared Housing HUGE Audience, they                     filed with the Co. Clerk-       dence address of the                    San Jose, CA 95112.                          Regina Alcomendras,
          THE BAY AREA                                           apply, please call        tions within the
                                                                                           Kingdee and Odoo
                                                                                                                                                   also reach an EN-
                                                                                                                                                   GAGED AUDIENCE.
                                                                                                                                                                             Recorder of Santa Clara
                                                                                                                                                                             Co. on 01/18/2019.
                                                                                                                                                                                                             owner(s) /registrant(s)
                                                                                                                                                                                                             is:            Madhusudan
                                                                                                                                                                                                                                                     The      registrant/owner
                                                                                                                                                                                                                                                     began transacting busi-
                                                                                                                                                                                                                                                                                                 County Clerk Recorder
                                                                                                                                                                                                                                                                                                     By: /s/ Mike Louie,
          NEWS GROUP                                                                       systems including
                                                                                                                       PUBLIC NOTICE TO
                                                                                                                          ADVERTISERS/            Discover the Power             Regina Alcomendras,         Madhav          Tare      and           ness under the fictitious                                     Deputy
               Classified                                         DID YOU KNOW
                                                                    Newspaper-
                                                                                           ability to operate
                                                                                           the general ledg-
                                                                                                                             READERS
                                                                                                                        SHARED HOUSING
                                                                                                                                                 of Newspaper Adver-
                                                                                                                                                   tising. For a free           County Clerk Recorder        Madhura Madhusudan
                                                                                                                                                                                                             Tare, 7844 McClellan
                                                                                                                                                                                                                                                     business name(s) listed
                                                                                                                                                                                                                                                     above on: 01/01/2019.
                                                                                                                                                                                                                                                                                                  File No.: FBN650832
             Department                                         generated content
                                                                 is so valuable it’s
                                                                                           er, accounts re-
                                                                                           ceivable and ac-
                                                                                                                         CLASSIFICATION              brochure call
                                                                                                                                                 916-288-6011 or email
                                                                                                                                                                                      By: /s/ Vee Reed,
                                                                                                                                                                                                  Deputy     Road, Cupertino, CA                     This filing is first filing
                                                                                                                                                                                                                                                                                                     SJMN#6292118
                                                                                                                                                                                                                                                                                                Feb.8,15,22,Mar.1,2019
           will be closed on                                   taken and repeated,         counts      payable
                                                                                                                     Calif. law states that
                                                                                                                     it is unlawful for any       cecelia@cnpa.com              File No.: FBN650391          95014. The registrant/                  I declare that all infor-
                                                                                                                                                                                                                                                     mation in this state-
                                                                condensed, broad-          modules; 4) gen-              person to make,                 (CDCN)                    SJMN#6284653              owner began transact-                                                              FICTITIOUS BUSINESS
                                                                cast, tweeted, dis-        erating    account-         print, or publish, or                                           Jan.25,               ing business under the                  ment is true and cor-                        NAME STATEMENT
          Monday, Feb. 18th,                                      cussed, posted,
                                                                copied, edited, and
                                                                                           ing    reports     in       cause to be made,             REAL ESTATE
                                                                                                                                                 HOME INSPECTIONS.                 Feb.1,8,15,2019           fictitious          business            rect. (A registrant who
                                                                                                                                                                                                                                                     declares as true infor-
                                                                                                                                                                                                                                                                                                 File No. FBN650696
             to observe                                         emailed countless
                                                                                           Odoo;            and
                                                                                           5) booking foreign
                                                                                                                     printed, or published
                                                                                                                        any notice, state-         Owner 76 retiring           FICTITIOUS BUSINESS
                                                                                                                                                                                                             name(s) listed above
                                                                                                                                                                                                             on: 02/16/2011                          mation which he or she
                                                                                                                                                                                                                                                                                              The following person(s)
                                                                                                                                                                                                                                                                                              is (are) doing business
           President’s Day                                       times throughout
                                                                the day by others?
                                                                                           currency transla-
                                                                                           tion gain and loss.
                                                                                                                       ment, or advertise-
                                                                                                                       ment, with respect
                                                                                                                                                     after 27 years.
                                                                                                                                                   established areas
                                                                                                                                                                                NAME STATEMENT
                                                                                                                                                                               File No. FBN650339
                                                                                                                                                                                                             This filing is first filing             knows to be false is                     as: A-MEX SERVICES,
                                                               Discover the Power                                                                 avail. $43K. Contact                                       I declare that all infor-               guilty of a crime.)                      2855 Senter Rd. #33, San
                                                                                           Send resume to             to the sale, rental or                                 The following person(s)
                                                                 of Newspaper Ad-                                                                 bdghowe@aol.com                                            mation in this state-                           /s/ Maria Graciela
         We will reopen on                                        vertising. For a
                                                                                           accountingjobs@
                                                                                           tvunetworks.com
                                                                                                                     sharing of a housing
                                                                                                                     accommodation that             831-207-3192             is (are) doing business
                                                                                                                                                                             as: KAHOLO KAI, INC.,
                                                                                                                                                                                                             ment is true and cor-                                   Canchola
                                                                                                                                                                                                                                                                                              Jose, CA 95111, Santa
                                                                                                                                                                                                                                                                                              Clara County.
              Tuesday,                                         free brochure call
                                                              916-288-6011 or email
                                                                                                                     indicates any prefer-
                                                                                                                                                                             156 Checkers Dr. San
                                                                                                                                                                                                             rect. (A registrant who
                                                                                                                                                                                                             declares as true infor-
                                                                                                                                                                                                                                                     This statement was
                                                                                                                                                                                                                                                     filed with the Co. Clerk-
                                                                                                                                                                                                                                                                                              The business is owned
        Feb. 19th, at 8:00am                                     cecelia@cnpa.com
                                                                       (CDCN)              LANDSCAPING
                                                                                                                       ence, limitation, or
                                                                                                                     discrimination based         Financial                  Jose, CA 95116,       Santa     mation which he or she                  Recorder of Santa Clara
                                                                                                                                                                                                                                                                                              by: an individual. The
                                                                                                                                                                                                                                                                                              name and residence ad-
                                                                                                                                                                             Clara County. The busi-                                                 Co. on 01/22/2019.
                                                                                           BrightView Land-            on race, color, reli-
                                                                                                                      gion, marital status,       Services                   ness is owned by: a cor-
                                                                                                                                                                                                             knows to be false is
                                                                                                                                                                                                                                                          Regina Alcomendras,
                                                                                                                                                                                                                                                                                              dress of the owner(s)
             Have a safe and                                  FDA-Registered Hearing
                                                               Aids. 100% Risk-Free!
                                                                                           scape       Services,
                                                                                           Inc. (Hayward, CA)          national origin, an-                                  poration. The name and
                                                                                                                                                                                                             guilty of a crime.)
                                                                                                                                                                                                                        /s/ Madhusudan                  County Clerk Recorder
                                                                                                                                                                                                                                                                                              /registrant(s) is:
                                                                                                                                                                                                                                                                                              Hector Hurtado, 285
             happy holiday!                                      45-Day Home Trial.
                                                              Comfort Fit. Crisp Clear
                                                                                           10 F/T temp. Land-
                                                                                           scape      Laborers.
                                                                                                                       cestry, familial sta-
                                                                                                                       tus, or disability or
                                                                                                                                                    ARE YOU BEHIND
                                                                                                                                                   $10k OR MORE ON
                                                                                                                                                                             residence address of
                                                                                                                                                                             the owner(s)/ regis-
                                                                                                                                                                                                                          Madhav Tare                         By: /s/ Vee Reed,
                                                                                                                                                                                                                                                                          Deputy
                                                                                                                                                                                                                                                                                              Senter Rd 33, San Jose,
                                                                                                                     an intention to make                                                                    This statement was                                                               CA 95111.
                                                               Sound. If you decide to     4/1/19-11/01/19.          any such preference,
                                                                                                                                                   YOUR TAXES? Stop          trant(s) is: Kaholo Kai,        filed with the Co. Clerk-                   File No.: FBN650440                  The      registrant/owner
      Bay Area News Group                                     keep it, PAY ONLY $299
                                                               per aid. FREE Shipping.
                                                                                           40 hrs/wk, 6am-
                                                                                           2:30pm (M-F), Sat            limitation, or dis-
                                                                                                                                                       wage & bank
                                                                                                                                                 levies, liens & audits,
                                                                                                                                                                             Inc. 156 Checkers Drive,
                                                                                                                                                                             San Jose, CA 95116.
                                                                                                                                                                                                             Recorder of Santa Clara                        SJMN#6284843                      began transacting busi-
           Classifieds                                          Call Hearing Help Ex-
                                                               press 1- 855-993-1226.
                                                                                           when
                                                                                           $17.93/hour
                                                                                                           req’d.
                                                                                                            (O/T
                                                                                                                           crimination.            unfiled tax returns,
                                                                                                                                                  payroll issues, & re-
                                                                                                                                                                             The      registrant/owner
                                                                                                                                                                                                             Co. on 02/04/2019.
                                                                                                                                                                                                                  Regina Alcomendras,
                                                                                                                                                                                                                                                               Jan. 25,
                                                                                                                                                                                                                                                            Feb. 1,8,15,2019
                                                                                                                                                                                                                                                                                              ness under the fictitious
                                                                                                                                                                                                                                                                                              business name(s) listed
                                                                       (CDCN)              $26.93). Mow, cut,                                         solve tax debt         began transacting busi-            County Clerk Recorder
                                                                                                                                                                             ness under the fictitious                                       FICTITIOUS BUSINESS                              above on: 01/28/2019
                                                                                           water,           edge                                    FAST. Call: 1-855-                                               By: /s/ Mike Louie,
         1-800-733-3933                                                                    lawns; rake/ blow
                                                                                           leaves; dig holes;
                                                                                                                                                     672-1562 (CDCN)         business name(s) listed
                                                                                                                                                                             above on: 01/17/2019
                                                                                                                                                                                                                                  Deputy
                                                                                                                                                                                                                 File No.: FBN651036
                                                                                                                                                                                                                                               NAME STATEMENT
                                                                                                                                                                                                                                              File No. FBN651242
                                                                                                                                                                                                                                                                                              This filing is first filing
                                                                                                                                                                                                                                                                                              I declare that all infor-
                                                                                                                                                                                                                                                                                              mation in this state-
                   (Option #1)                                                             pull/chop weeds;
                                                                                           p r u n e / h a u l
                                                                                                                                                 UNABLE to work due
                                                                                                                                                   to injury or illness?
                                                                                                                                                                             This filing is refile
                                                                                                                                                                             (Change(s) in facts
                                                                                                                                                                                                                    SJMN#6291367           The    following person(s)
                                                                                                                                                                                                                                           is (are) doing business                            ment is true and cor-
                                                                                           topsoil/mulch. No                                        Call Bill Gordon &                                                Feb.8,15,22,                                                            rect. (A registrant who
                                                                                                                                                                             from previous filing.)                   Mar.1,2019           as:   SUKHA     TRUCKING,
                                                                                           exp. Ability to lift                                     Assoc., Social Se-                                                                                                                        declares as true infor-
         EAST BAY TIMES                                                                    50lbs. Emplr paid                                      curity Disability At-      Previous file #:
                                                                                                                                                                             FBN649994
                                                                                                                                                                                                                                           5369 Persimmon Grove
                                                                                                                                                                                                                                           Ct.   San   Jose,  CA 95123,                       mation which he or she
       THE MERCURY NEWS                                                                    drug         testing/
                                                                                           background check
                                                                                                                                                   torneys! FREE Eval-
                                                                                                                                                  uation. Local Attor-       I declare that all infor-
                                                                                                                                                                                                               FICTITIOUS BUSINESS
                                                                                                                                                                                                                 NAME STATEMENT            Santa Clara County.                                knows to be false is
                                                                                                                                                                                                                                                                                              guilty of a crime.)
       HILLS NEWSPAPERS                                                                    post-hire.       Free                                    neys Nationwide          mation in this state-              File No. FBN650375         The    business     is owned
                                                                                                                                                                                                                                                                                                     /s/ Hector Hurtado
           DAILY NEWS                                                                      tools/equip, lodg-                                    1-888-440-7263. Mail:
                                                                                                                                                      2420 N St NW,
                                                                                                                                                                             ment is true and cor-           The following person(s) by: an individual. The                                   This statement was
                                                                                           ing & daily trans                                                                 rect. (A registrant who         is (are) doing business       name     and   residence    ad-
         SILICON VALLEY                                                                    to/from worksites                                      Washington DC. Of-         declares as true infor-                                       dress of the owner(s)                              filed with the Co. Clerk-
           COMMUNITY
          NEWSPAPERS
                                                                                           within
                                                                                           Bonuses/raises
                                                                                           may be paid at
                                                                                                            MSA.
                                                                                                                       real estate                fice: Broward Co. FL
                                                                                                                                                       (TX/NM Bar.)
                                                                                                                                                          (CDCN)
                                                                                                                                                                             mation which he or she
                                                                                                                                                                             knows to be false is
                                                                                                                                                                             guilty of a crime.)
                                                                                                                                                                                                             as: PACIFICAIRUSA
                                                                                                                                                                                                             DUCT CLEANING, 1725 S         /registrant(s)
                                                                                                                                                                                                             Bascom Ave. Campbell, Sukhwinder Singh, 5369
                                                                                                                                                                                                             CA 95008, Santa Clara Persimmon Grove Ct.
                                                                                                                                                                                                                                                              is:                             Recorder of Santa Clara
                                                                                                                                                                                                                                                                                              Co. on 01/28/2019.
                                                                                                                                                                                                                                                                                                   Regina Alcomendras,
                                                                                           emplr. discretion                                                                                                                                                                                     County Clerk Recorder
                                                                                           based on perform-                                                                  /s/ Thomas R. Dement           County. The business is San Jose, CA 95123.                                                   By: /s/ Sandy
                                                                                           ance, skill, tenure.                                                                        Kaholo Kai, Inc.      owned by: a corpora- The                registrant/owner
                                                                                                                                                                                                                                                                                                      Chanthasy, Deputy
                                   GET an iPhone 8 or                                      Inbound/out-                                                                                    President         tion. The name and res- began transacting busi-
                                    Samsung Galaxy8                                        bound        transp./      Alamo                                                  Article/Registration                                          ness    under   the fictitious                         File No.: FBN650696
  ATTENTION                        for $34/month. Call
                                    AT&T Wireless to-
                                                                                           subsistence
                                                                                           pense reimbursed
                                                                                                              ex-                                                            #4221988. Above entity
                                                                                                                                                                                                             idence address of the
                                                                                                                                                                                                             owner(s)/registrant(s) business name(s) listed
                                                                                                                                                                                                                                                                                                     SJMN#6288177
                                                                                                                                                                                                                                                                                                   Feb.1,8,15,22,2019
       DID YOU
                                   day to learn how to
                                                               General                     by 50% of work             ALAMO RANCHER
                                                                                                                                                                             formed in the State of          is: GDM Group, 1725 S         above    on:     02/05/2019
       KNOW??
                                    get a new phone.           Pets/Livestock              contract. Guaran-
                                                                                                                                                                             California. This state-         Bascom Ave. Campbell, This filing is first filing
                                                                                                                       5BD/3.5BA , 3 car                                     ment was filed with the         CA 95008.                     I  declare    that   all infor-                      FICTITIOUS BUSINESS
                                   Call while supplies                                     teed to work ¾ of
   YOU CAN PLACE
                                   last. 1-855-561-2351                                    total work days.
                                                                                                                     garage. 41 Bolla Ave.                                   Co. Clerk-Recorder of           The       registrant/owner mation in this state-                                     NAME STATEMENT
  YOUR CLASSIFIED                                                                                                     4,292 Total Sq. Ft.                                    Santa Clara Co. on                                            ment     is  true    and   cor-                       File No. FBN650194
                                          (CDCN)                    CARING PET             Apply for the job          Newly remodeled,                                                                       began transacting busi-
    AD THROUGH                                                                                                                                                                                                                                                                                The following person(s)
  OUR SELF-SERVE                                                    ADVERTISER             at    the     nearest     featuring detached                                      01/17/2019.                     ness under the fictitious rect. (A registrant who
                                   Over $10K in Debt?             Due to potential         SWA      office    at:    in-law unit & office,                                       Regina Alcomendras,         business name(s) listed       declares     as   true   infor-                    is (are) doing business
     AD PORTAL
       24/7                         Be debt free in 24            misuse/abuse of          24100 Amador St.,          convenient loca-                                         County Clerk Recorder         above on: 01/17/2019          mation which he or she                             as: T T TRUCKING, 577
                                    to 48 months. No            pets, The Mercury          3rd    Floor,    Hay-       tion, prominent                                       By: /s/Vee Reed, Deputy                                       knows to be false is                               Fanelli Ct. San Jose, CA
                                                                News & Daily News          ward, CA 94544.                                                                                                   This filing is first filing
    Just visit either                upfront fees to                                                                 schools, in a high-                                        File No.: FBN650339          I declare that all infor- guilty of a crime.)                                    95136,      Santa       Clara
                                                               requires that adver-        Phone: (510) 670-                                                                                                                                                                                  County.
                                  enroll. A+ BBB rated.
                                                                   tisers charge a         5700.    Job    Order
                                                                                                                       ly sought-after
                                                                                                                       neighborhood!
                                                                                                                                                                                   SJMN#6285565              mation in this state- /s/ Sukhwinder Singh
   eastbaytimes.com                 Call National Debt
                                                                  nominal fee of at        #16375341.        Ref                                                                        Jan.25,              ment is true and cor- This statement was                                         The business is owned
          or                         Relief 1-844-741-                                                               $1,979,950                                                                                                                                                               by: an individual. The
   mercurynews.com                     8037. (CDCN)               least $5 for their       #BVLS3110.                                                                              Feb.1,8,15,2019           rect. (A registrant who filed with the Co. Clerk-
       and at the                  OXYGEN - Anytime.
                                                                pets. Every life has
                                                               a value. Also, it is il-                                41BollaAve.com                                        FICTITIOUS BUSINESS
                                                                                                                                                                              NAME STATEMENT
                                                                                                                                                                                                             declares as true infor- Recorder of Santa Clara
                                                                                                                                                                                                             mation which he or she Co. on 02/08/2019.
                                                                                                                                                                                                                                                                                              name and residence ad-
                                                                                                                                                                                                                                                                                              dress of the owner(s)
     bottom of the                 Anywhere. No tanks            legal to buy/sell a
                                                                 pup/kitten before          Persons                    510-410-8185               General                    File No. FBN650729              knows to be false is               Regina Alcomendras,                           /registrant(s) is: Tuan
      home page,                   to refill. No deliver-                                                                                                                                                                                     County Clerk Recorder                           Thanh Tran, 577 Fanelli
        Click on                      ies. The All- New              8 weeks old
                                                                                            Seeking                   Alamo Assoc. RE Inv. LLC    Automotive               The following person(s)           guilty of a crime.)
                                                                                                                                                                                                                   /s/ David Katz, GDM               By: /s/ Raymund                          Ct. San Jose, CA 95136.
     "Classifieds"                   Inogen One G4 is            in Santa Clara Co.                                                                                        is (are) doing business                                                       Reyes, Deputy                        The      registrant/owner
                                     only 2.8 pounds!           due to health risks
                                                                      to the pet.
                                                                                            Employment                Christopher Mass                                     as: EMI BOOKSTORE,                              Group, Officer
                                                                                                                                                                                                             Article/Registration              File No.:   FBN651242                          began transacting busi-
   You can browse                  FAA approved! FREE                                                                                                                      11011 Enchanto Vista                                                   SJMN#6294894                                ness under the fictitious
   or place classi-                 info kit: 1-844-359-              NOTICE TO
                                                                   ADVERTISERS/             ADULT AIDE Avail.                                     ATTENTION                Drive, San Jose, CA               #4185170. Above entity
                                                                                                                                                                                                             formed in the State of                  Feb.15,22,                               business name(s) listed
    fied ads here!                      3976 (CDCN)
                                                                       READERS             Hourly Live-in. Lic. &
                                                                                           Bonded 408-613-7189
                                                                                                                      Aptos                         NEW OFFER!!
                                                                                                                                                                           95127,        Santa Clara
                                                                                                                                                                           County. The business is           CA. This statement was                 Mar.1,8,2019                              above on: N/A
    For Assistance,                  VIAGRA 100mg,             Santa Clara County
                                                                                                                                                                                                             filed with the Co. Clerk-                                                        This filing is first filing
                                       CIALIS 20mg.            Dept. of Public Serv-                                                                  BUY 2 WEEKS          owned by: a Limited Li-                                           FICTITIOUS BUSINESS                              I declare that all infor-
      Please Call                                                                                                                                                                                            Recorder of Santa Clara
                                                                   ices Ordinance                                                                                          ability Company. The                                                NAME STATEMENT
  1-800-775-6397                    90 tabs + 10 FREE,
                                       $99 includes             Chapter VII, Article                                   APTOS, CA.                     GET 2 WEEKS
                                                                                                                                                           FREE            name and residence ad-            Co. on 01/17/2019.               File No. FBN650720
                                                                                                                                                                                                                                                                                              mation in this state-
                                                                                                                                                                                                                                                                                              ment is true and cor-
     M-F 8am-5pm                     FREE SHIPPING.            9 states that no per-                                 Multi Million Dollar                                  dress of the owner(s)/                 Regina Alcomendras, The following person(s)
                                                                  son or establish-                                    Views, Home and                                                                          County Clerk Recorder is (are) doing business                                 rect. (A registrant who
                                      1-888-836-0780                                                                                                 Place an ad* to       registrant(s) is: 123 EMI                                                                                          declares as true infor-
                                                                 ment other than a                                      Barn come free.              sell any type of      BOOKS,       LLC,       11011               By: /s/ Vee Reed, as: CDMX INSURANCE
AT&T High Speed In-                WATER DAMAGE to              licensed or county                                     7 beautiful acres              Transportation                                                              Deputy SERVICES, 105 Caspian                                mation which he or she
                                                                  operated animal                                    inside Nisene Marks                                   Enchanto Vista Drive,                                                                                              knows to be false is
  ternet Starting at               Your Home? Call for                                                                                             (Cars, Trucks, RV’s,                                          File No.: FBN650375
 $40/month. Up to 45                                              shelter shall sell,                                       State Park,             Motorcycles, etc.)     San   Jose, CA   95127.   The                                   Way, Gilroy, CA 95020,                             guilty of a crime.)
                                   a quote for profes-                                                                                                                     registrant/ owner be-                    SJMN#6284987
   Mbps! Over 99%                    sional cleanup &           exchange or barter                                           Aptos,Ca.                AND RECEIVE                                                                          Santa Clara County.                                   /s/ Tuan Thanh Tran
 Reliability! Bundle                                            any cat or dog un-                                   One of a kind piece              2 WEEKS FREE         gan    transacting       busi-                Jan. 25,          The business is owned
                                  maintain the value of
                                                                                                                                                                                                                    Feb. 1,8,15,2019                                                          This statement was
  AT&T Digital TV or                your home! Set an          der 8 weeks of age.                                         of property               WHEN YOU BUY          ness under the fictitious                                       by: an individual. The                             filed with the Co. Clerk-
  Phone Services &                     appt today!              Anyone suspecting                                         surrounded by               A 2 WEEK AD!!        business name(s) listed                                         name and residence ad-
                                                                 a violation should                                      10,000 acres of                                                                       FICTITIOUS BUSINESS                                                            Recorder of Santa Clara
    Internet Price                   Call 855-266-6904                                                                                                                     above on: 01/28/2019.                                           dress of the owner(s)
Starts at $30/month.                                              report details to:                                        State Park             Call for more info.                                           NAME STATEMENT                                                               Co. on 01/14/2019.
                                          (CDCN)                                                                                                                           This filing is first filing.                                    /registrant(s) is:                                      Regina Alcomendras,
 Call 1-855-758-6055
        (CDCN)
                                                                 CITY OF SAN JOSE
                                                                   ANIMAL CARE &
                                                                                                                         Land. Contact:
                                                                                                                      billevansproductions@        1-800-733-3933          I declare that all infor-            File No. FBN650417         Gerardo Ivan Delgado
                                                                                                                                                                                                             The following person(s) Hernandez, 105 Caspian                                      County Clerk Recorder
                                                                                                                                                                           mation in this state-
DID YOU KNOW that
                                  Personals                           SERVICES
                                                                   (408) 794-7297
                                                                                                                             gmail.com
                                                                                                                      or 831-818-2295 for
                                                                                                                                                      M-F 8am-5pm
                                                                                                                                                        Option #1
                                                                                                                                                    *some restrictions
                                                                                                                                                                           ment is true and cor-             is (are) doing business Way, Gilroy, CA 95020.
                                                                                                                                                                                                             as: ADRIAN’S GENERAL The
                                                                                                                                                                                                                                                                                                       By: /s/ Vee Reed,
                                                                                                                                                                                                                                                                                                                   Deputy
   the average busi-                                                                                                 Information & Video                                   rect. (A registrant who                                                   registrant/owner                             File No.: FBN650194
    ness spends the
                                                                                                                                                     apply, please call    declares as true infor-           SERVICES,                     began transacting busi-
                                  NEED CONFIDENCE?                                                                                                                                                           13650 Highwood Dr.                                                                      SJMN#6284824
 equivalent of nearly                                          Dogs For Sale                                                                                               mation which he or she                                          ness under the fictitious                                     Jan. 25,
1 1/2 days per week
                                  Call Di. Not a dating
                                   site. 650-391-9943                                                                 Property                   +21'$ 2010 Odyssey EX- knows to be false is                 San Jose, CA 95127,           business name(s) listed                                   Feb. 1,8,15,2019
  on digital market-
 ing activities? CNPA                                             $.&*2/'(15(            Apartments                for Sale                   L,171k,Snrf,CD,DVD. $7500 guilty of a crime.)               Santa Clara County.           above on: 01/28/2019
                                                                                                                                                                                                             The business is owned This filing is first filing
                                                                                                                                                         5102588450           /s/ Sally Lee, 123 EMI
  can help save you
                                   Phone Talk
                                                                   75,(9(53836
                                                               lt.gold;champ.line;vet
                                                                                            for Rent                  Out of State                                           BOOKS, LLC, Managing            by: an individual. The I declare that all infor-                                   FICTITIOUS BUSINESS
time and money. For                                                                                                                                                                                          name and residence ad- mation in this state-                                         NAME STATEMENT
    more info email                                                exam;1st shots                                                                   +21'$ 2015 CR-V EX                        Member                                                                                                FILE NO. 280278
                                                                            6-5(1772'$<                                       32,731 miles automatic  Article/Registration              dress of the owner(s) ment is true and cor-
 cecelia@cnpa.com                                                                                                    NORTHERN AZ WIL-             gray $9800 424-263-9556                                    /registrant(s) is: Adrian rect. (A registrant who                                The following person(s)
or call (916) 288-6011             MEET Gay/Bi in person                                   Near Westgate Mall, re-
                                                                                                                        DERNESS RANCH                                      #201901410894. Above                                                                                               is doing business as:
                                   in our 63 channel ar-      DACHSHUND AKC mini           modeled 1B/1B, $1795.
                                                                                                                     $198 MONTH - Quiet                                    entity formed in the              Pando, 13650 Highwood declares as true infor-
        (CDCN)                                                male pups $1100&up.                                                                                                                Dr. San Jose, CA 95127                                                           Product Maestro,
                                    cade: Adultworld                                                                  & secluded 37 acre                                   State of California. This                                       mation which he or she
DIRECTV & AT&T. 155
                                     3435 El Camino            Shots. 831-663-0166                                      off grid ranch in          Automotive Parts, statement was filed                     The       registrant/owner knows to be false is
                                                                                                                                                                                                             began transacting busi- guilty of a crime.)
                                                                                                                                                                                                                                                                                              Fuzzy Friends Photogra-
                                                                                                                                                                                                                                                                                              p h y , 475 Avenue Del
                                   Real, Santa Clara                                                                     AZ’s best year-
 Channels & 1000s of               nr. Lawrence Exp.           ENGLISH BULLDOG                                         round climate. No           Supplies &              with the Co. Clerk-
                                                                                                                                                                           Recorder of Santa Clara           ness under the fictitious                /s/ Gerardo Ivan
                                                                                                                                                                                                                                                                                              Ora, Redwood City, CA
  Shows/Movies On                                                                                                                                                                                                                                                                             94062, San Mateo Coun-
 Demand (w/SELECT
                                   next to car wash.          AKC pups, 2 Merles,
                                                              1 Lilac. Special price
                                                                                                                      urban noise /sunny
                                                                                                                                                   Services                Co. on 01/28/2019.                business name(s) listed                           Delgado                        ty. Connie Man-Fung
 Package.) AT&T In-                OPEN 24 HOURS PER DAY!     $3,000. 916-507-9556
                                                                                                                        days /dark sky
                                                                                                                     nights. Blend of ma-                                      Regina Alcomendras,           above on: 01/22/2019
                                                                                                                                                                                                             This filing is Refile
                                                                                                                                                                                                                                           This statement was                                 Kwan, 475 Avenue Del
  ternet 99 Percent                                                                                                      ture evergreen                                      County Clerk Recorder                                         filed with the Co. Clerk-                          Ora, Redwood City, CA
 Reliability. Unlimit-                                                                                                                              PARTS for 2 Cor-                    By: /s/ Sandy        (Change(s) in facts
                                                              LABRADOODLES F1-B                                          trees & grassy           vettes (’62&’65). Call                                                                   Recorder of Santa Clara                            94062. This business is
   ed Texts to 120                                            mini/stndrd $1200-$1500                                    meadows with                                             Chanthasy, Deputy          from previous filing.)        Co. on 01/28/2019.
  Countries w/AT&T                                                                                                                                for info 425-785-3867                                      Previous file #                                                                  conducted by an Indi-
                                                              LABRADORS ylw/                   ALL real estate          sweeping views                                        File No.: FBN650729                                               Regina Alcomendras,
   Wireless. Call 4                                           choc/blk, AKC/OFA             advertised in The         across surrounding                                                                     FBN521511                                                                        vidual. The registrant
     FREE Quote-                                                                                                                                                                 SJMN#6291599                                                 County Clerk Recorder                           commenced to transact
                                                              $800; GERMAN SHEP-              Mercury News is          wilderness moun-                                                                      I declare that all infor-
   1-844-257-4702                                             HERDS AKC/OFA $800,            subject to Federal        tains and valleys.        Auto wanted          9472 Feb. 8,15,22,Mar.1,2019           mation in this state-
                                                                                                                                                                                                                                                    By: /s/ Vee Reed,
                                                                                                                                                                                                                                                                  Deputy
                                                                                                                                                                                                                                                                                              business under the ficti-
       (CDCN)                                                 Delivery Avl! 559.358.0226   and California laws          Abundant clean                                     FICTITIOUS BUSINESS               ment is true and cor-                                                            tious business name or
                                                                                             which state that it      groundwater/ free                                      NAME STATEMENT                                                    File No.: FBN650720                            names on N/A.
                                                                                                                                                                                                             rect. (A registrant who              SJMN#6288023
 DISH TV $59.99 For                                                                         is unlawful for any       well water access/           DONATE YOUR CAR,         File No. FBN649969                                                                                                    /s/ Connie Man-Fung
                                                                                               person to make,        loam garden soil &                                                                     declares as true infor-            Feb.1,8,15,22,2019
 190 Channels $14.95                                                                                                                                TRUCK OR BOAT TO     The following person(s)             mation which he or she                                                                                Kwan
  High Speed Inter-                                                                         print, or publish, or    maintained road to             HERITAGE FOR THE
                                                                                            cause to be made,         property. Near his-                                is (are) doing business             knows to be false is            FICTITIOUS BUSINESS                              THIS STATEMENT WAS
  net. Free Installa-                                                                                                                               BLIND. Free 3 Day    as: IVY & ELM STUDIO,                                                                                                FILED      WITH      MARK
 tion, Smart HD DVR                                                                         printed, or publish-      toric pioneer town            Vacation, Tax De-                                        guilty of a crime.)               NAME STATEMENT
    Included, Free                                                                              ed any notice,           & fishing lake.                                 18585 Monterey Road                          /s/Adrian Pando          File No. FBN650832                             CHURCH,        ASSESSOR-
                                                                                                                                                  ductible, Free Tow-
    Voice Remote.                                                                            statement, or ad-       Camping and RV ok.            ing, All Paperwork    #140, Morgan Hill, CA               This statement was The following person(s)                                       COUNTY              CLERK-
  Some restrictions                                                                          vertisement, with         $23,000, $2,300 dn.           Taken Care Of.      95037,      Santa       Clara       filed with the Co. Clerk- is (are) doing business                                RECORDER, SAN MATEO
  apply. Call 1-855-                                                                        respect to the sale       Free brochure with                                 County.                             Recorder of Santa Clara as: ACTIVLEAF, 5717 La                                   COUNTY ON 02/04/2019.
  977-7951 (CDCN)                                                 MALTIPOO                  or rental of a hous-
                                                                                           ing accommodation
                                                                                                                       similar properties
                                                                                                                       includes photos/
                                                                                                                                                  CALL 1-877-573-9104
                                                                                                                                                         (CDCN)          The business is owned
                                                                                                                                                                         by: a General Partner-
                                                                                                                                                                                                             Co. on 01/22/2019.            Seyne Place, San Jose,
                                                                                                                                                                                                                  Regina Alcomendras, CA 95138, Santa Clara
                                                                                                                                                                                                                                                                                                    SMCT#6294362
                                                                                                                                                                                                                                                                                                       Feb.15,22,
EVERY BUSINESS has
   a story to tell! Get
                                                                  T-CUP/TOY                  that indicates any
                                                                                            preference, limita-
                                                                                            tion, or discrimina-
                                                                                                                      topo maps/ weath-
                                                                                                                       er/ town info. 1st
                                                                                                                          United Realty          Custom &
                                                                                                                                                                         ship.     The name and
                                                                                                                                                                         residence address of
                                                                                                                                                                                                                County Clerk Recorder County.
                                                                                                                                                                                                                                           The business is owned
                                                                                                                                                                                                                                                                                                      Mar.1,8,2019
   your message out                                           Morkies/Shihpoo/Cockapoo      tion based on race,           800.966.6690.                                  the owner(s) /regis-                                              by: an individual. The
    with California’s
 PRMedia Release –
                                  Antiques                    $350-$850 408.483.2143
                                                              www.SanJosePups.com
                                                                                            color, religion, sex,            (CDCN)               classics          9480 trant(s) is:                               The smart people
                                                                                                                                                                                                                    you want to hire       name and residence ad-
                                                                                                                                                                                                                                                                                                   The smart people
                                                                                                                                                                                                                                                                                                   you want to hire
                                                                                            marital status, na-                                                          Brooke Shawnicolet,                   read the Mercury News.      dress of the owner(s)                                read the Mercury News.
   the only Press Re-                                                                      tional origin, ances-                                                         34 Crazy Horse Canyon
  lease Service oper-               COLLECTOR Seeks           SHELTIE BABIES            try, familial status,                                AUTO RESTORATION Road,
 ated by the press to               Picasso Ceramics           Sable and White               or disability or an                                       Same location
 get press! For more                 & other fine art,        $1200. 209-824-4545            intention to make                                       50+yrs. We have     Salinas, CA 93907 and                                       United States Bankruptcy Court for the Northern District of California
 info contact Cecelia               paintings & prints.                                        any such prefer-                                   built many different   Megan Elizabeth Rotter,              Debtors: PG&E Corporation and Paciﬁc Gas and Electric Company
                                                                                                                                                                         9775 Coyote Moon Ln,


                                                                     
   @ 916-288-6011 or              Also, fine jew elry like                                 ence, limitation, or                                   cars over the years                                         Datecasesﬁledinchapter11: 01/29/2019
http://prmediarelease                                                                                                     ALL real estate
                                   Tiffany, Cartier, etc.                                   discrimination. We          advertised in The          from Pierce-Arrow     Gilroy, CA 95020.                    Casenumber: 19-30088(DM)(LeadCase;JointlyAdministered)
     .com/california                 & Lalique glass.                                        will not knowingly                                      to Cobras, Rolls-   The      registrant/owner
         (CDCN)                        408-464-1522                                                                       Mercury News is                                                                     Notice of Chapter 11 Bankruptcy Cases
                                                                                            accept advertising          subject to Federal        Royces to Bentleys,    began transacting busi-
                                                                                                for real estate                                     Limos+more! We       ness under the fictitious                For the debtors listed above, cases have been ﬁled under chapter 11 of the Bankruptcy Code and orders for


                                                                    
                                                                                                                       and California laws
                                                                                                                                                  service 1920-1970’s.
        
                                                                                             which violates the         which state that it                              business name(s) listed              relief have been entered.This notice has important information about the cases for creditors,debtors,and trustees,
                                  Collectibles                                             law. All persons are
                                                                                              hereby informed
                                                                                                                       is unlawful for any            Call 831-247-8827
                                                                                                                                                                         above on: 01/07/2019.                includinginformationaboutthemeetingofcreditorsanddeadlines.

       
                                                                                                                          person to make,        FORD 1965 Mustang       This filing is first filing              The ﬁling of the cases imposed an automatic stay against most collection activities.This means that creditors
                                                                                              that all dwellings       print, or publish, or                                                                  generally may not take action to collect debts from the debtors or the debtors’property.For example,while the stay
                                   :$17('2/'72<6                                             advertised are         cause to be made,
                                                                                                                                                  AT, show condition,    I declare that all infor-
 Mercury News Classified.                                                                      available on an                                   $19,000 bo 916.343.7267 mation in this state-                is in effect,creditors cannot sue,assert a deﬁciency,repossess property,or otherwise try to collect from the debtors.
                                                               Mercury News Classified.                                printed, or publish-
                                   Action Figures, Toy
                                   Cars, Star Wars, etc                                         equal housing              ed any notice,                                ment is true and cor-                Creditors cannot demand repayment from the debtors by mail,phone,or otherwise.Creditors who violate the stay
                                                                                                 oppty. basis.                                      GOT an older car,    rect. (A registrant who              canberequiredtopayactualandpunitivedamagesandattorney’sfees.
                                                                                                            statement, or ad-          boat or RV? Do the

      Garage & Firewood and                                                                                             vertisement, with
                                                                                                                       respect to the sale
                                                                                                                       or rental of a hous-
                                                                                                                      ing accommodation
                                                                                                                                                    humane thing. Do-
                                                                                                                                                   nate it to the Hum-
                                                                                                                                                     ane Society. Call
                                                                                                                                                      1- 888-269-7429
                                                                                                                                                                         declares as true infor-
                                                                                                                                                                         mation which he or she
                                                                                                                                                                         knows to be false is
                                                                                                                                                                         guilty of a crime.)
                                                                                                                                                                                                                  Conﬁrmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular
                                                                                                                                                                                                              debt excepted from discharge may be required to ﬁle a complaint in the bankruptcy clerk’s ofﬁce within the deadline
                                                                                                                                                                                                              speciﬁedinthisnotice.(Seeline11belowformoreinformation.)
                                                                                                                                                                                                                  To protect your rights,consult an attorney.All documents ﬁled in the cases may be inspected at the bankruptcy

      Estate Sales Fuel              100% ALMOND
                                                                                                                        that indicates any
                                                                                                                       preference, limita-
                                                                                                                       tion, or discrimina-
                                                                                                                       tion based on race,
                                                                                                                                                           (CDCN)
                                                                                                                                                       WANTED! Old
                                                                                                                                                     Porsche 356/911/
                                                                                                                                                                          /s/ Brooke Shawnicolet
                                                                                                                                                                         This statement was
                                                                                                                                                                         filed  with the Co. Clerk-
                                                                                                                                                                                                              clerk’sofﬁceattheaddressbeloworthroughPACER(PublicAccesstoCourtElectronicRecordsatwww.pacer.gov).
                                                                                                                                                                                                                  The staff of the bankruptcy clerk’s ofﬁce cannot give legal advice. Do not ﬁle this notice with any
                                                                                                                                                                                                              proofofclaimorotherﬁlinginthecases.
                                                                                                                       color, religion, sex,                             Recorder of Santa Clara
                                                                           Cable Installers
                                                                                                                                                                                                                  1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale Street, P.O. Box
 If you want it sold,              SEASONED & SPLIT
                                  1/4, 1/2 & Full Cords                                                                marital status, na-
                                                                                                                                                    912 for restoration
                                                                                                                                                     by hobbyist 1948-   Co. on 01/07/2019.                   77000, San Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Paciﬁc Gas and Electric Company, 77 Beale
                                       BEST BUY!!!                                                                    tional origin, ances-        1973 Only. Any con-        Regina Alcomendras,
 place it in the classiﬁeds!         FREE DELIVERY                                                                     try, familial status,        dition, top $ paid!     County Clerk Recorder
                                                                                                                                                                                                              Street,P.O.Box 77000,San Francisco,California 94177,19-30089 (DM),XX-XXXXXXX.
                                                                                                                                                                                                                  2. All other names used in the last 8 years: n/a
                                     BBB A+ Rating!                      Immediate openings for                         or disability or an       PLEASE LEAVE MES-               By: /s/ Vee Reed,
                                                                                                                        intention to make                                                                         3. Address: See above
 To advertise, call                    HILLERMANS
                                       925-828-2223
                                                                            Cable Installers.
                                                                                                                          any such prefer-
                                                                                                                                                      SAGE (707) 965-
                                                                                                                                                  9546. Email: porsch e
                                                                                                                                                                                              Deputy              4. Debtors’Attorneys: Tobias S.Keller (#151445),KELLER & BENVENUTTI LLP,650 California Street,Suite 1900,
                                                                                                                                                                             File No.: FBN649969
 1-800-733-3933 Option #1,             408-275-0306                     No Experience Necessary,
                                                                             we will train.
                                                                                                                       ence, limitation, or
                                                                                                                       discrimination. We
                                                                                                                                                    restoration@yaho o.
                                                                                                                                                        com (CDCN)              SJMN#6284422
                                                                                                                                                                                                              San Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice), WEIL, GOTSHAL & MANGES LLP, 767 Fifth Avenue,
                                                                                                                                                                                                              NewYork,NY 10153. Debtors’Claims and Noticing Agent: If you have questions about this notice,please
                                                                                                                        will not knowingly                                          Jan.25,
 Mon.-Fri. 8 am - 5 pm.              PUBLIC NOTICE
                                  Did you receive the          Retention/Performance Bonus available -                 accept advertising                                       Feb.1,8,15,2019
                                                                                                                                                                                                              contact Prime Clerk LLC. Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email:
                                                                                                                           for real estate                                                                    pgeinfo@primeclerk.com. Website: https://restructuring.primeclerk.com/pge
                                   full amount of fire-         $500 bonus for tech’s with no experience
                                  wood you ordered?                $2,500 with sufficient experience.                   which violates the                                     FICTITIOUS BUSINESS                5. Bankruptcy clerk’s ofﬁce: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail Box 36099, San
                                  If Not, We Can Help.                                                                law. All persons are                                       NAME STATEMENT               Francisco, CA 94102. Hours open: Monday-Friday, 9 a.m.- 4:30 p.m. (CT). Contact phone: 888-821-7606.
                                   (128 cu ft = 1 cord)          Excellent Benefits including Health,                    hereby informed                                        File No. FBN651161            Documents in these cases may be ﬁled at this address.You may inspect all records ﬁled in these cases at this ofﬁce
                                  Santa Clara County                     Dental, Vision, 401K.                           that all dwellings                                  The following person(s)          or online at www.pacer.com.
                                  Weights & Measures           Company vehicle with gas card provided.                     advertised are                                    is (are) doing business              6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Location: Phillip Burton
                                  408-918-4630, 1-5pm                                                                     available on an                                    as: HR Solutions Part-
                                                                                                                           equal housing                                                                      Federal Building and U.S. Courthouse, 450 Golden Gate Avenue, 2nd Floor, California Conference Room, San
                                                                    Bring your current DMV report to                                                                         ners, 464 Monterey Ave-
                                                                interview. Call 916-215-9309 for more                       oppty. basis.                                                                     Francisco, CA 94102.The debtors’ representative must attend the meeting to be questioned under oath. Creditors
                                                                              information.                                                                                   nue, Suite E, Los Gatos,         may attend, but are not required to do so. The meeting may be continued or adjourned to a later date. If so, the
                                  Home                                                                                                                                       CA 95030, Santa Clara            date will be on the court docket.
                                                                           Open Interviews                            Real Estate                                            County. The business is
                                  Furnishings                        Monday through Friday from                                                                              owned by: a corpora-
                                                                                                                                                                                                                  7. Proof of claim deadline: Deadline for ﬁling proof of claim: To Be Determined. A proof of claim is a
                                                                                                                                                                                                              signed statement describing a creditor’s claim.A proof of claim form may be obtained at www.uscourts.gov or any
                                                                    9am to 3pm. 1920 Mark Ct #190
                                                                         Concord, CA 94520.
                                                                                                                      Wanted                                                 tion. The name and res-          bankruptcy clerk’s office.Your claim will be allowed in the amount scheduled unless: • your claim is designated
                                  RECLINER, power lift,                                                                                                                      idence address of the            as disputed, contingent, or unliquidated; • you file a proof of claim in a different amount; or • you receive another
                                   walnut, lthr, NEW!!                                                                                                                       owner(s)/registrant(s)
                                   $575 650-773-6923                  For Commercial Cable Techs,                      KC BUYS HOUSES -                                                                       notice.If your claim is not scheduled or if your claim is designated as disputed,contingent,or unliquidated,you must
                                                                                                                       FAST - CASH - Any                                     is: HRSPI, Inc. 464 Mon-         ﬁle a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.You may ﬁle
                                                                  Hayward, SJ, & Commercial Cable                      Condition. Family                                     terey Avenue, Suite D,           a proof of claim even if your claim is scheduled.You may review the schedules at the bankruptcy clerk’s ofﬁce or
                                                                   Techs, please call 916-862-3756                    owned & Operated .                                     Los Gatos, CA 95030
                                   General                                                                              Same day offer!                                      The      registrant/owner
                                                                                                                                                                                                              online at www.pacer.gov. Secured creditors retain rights in their collateral regardless of whether they ﬁle a proof
                                                                                                                                                                                                              of claim.Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a
                                                                                                                         (951) 777-2518                                      began transacting busi-
                                   Merchandise
                                                                                                                     WWW.KCBUYSHOUSES.COM         Legal Notice               ness under the fictitious
                                                                                                                                                                                                              lawyer can explain. For example, a secured creditor who ﬁles a proof of claim may surrender important nonmon-
 Estate Sales                      A PLACE FOR MOM.
                                   The nation’s largest
                                                                              NOW HIRING                                      (CDCN)
                                                                                                                                                   FICTITIOUS BUSINESS
                                                                                                                                                     NAME STATEMENT
                                                                                                                                                                             business name(s) listed
                                                                                                                                                                             above on: 01/01/2019
                                                                                                                                                                             This filing is first filing
                                                                                                                                                                                                              etary rights,including the right to a jury trial.
                                                                                                                                                                                                                  8. Exception to discharge deadline: You must start a judicial proceeding by ﬁling a complaint if you want
                                                                                                                                                                                                              to have a debt excepted from discharge under 11 U.S.C.§ 1141(d)(6)(A).The bankruptcy clerk’s ofﬁce must receive
ÇSAN JOSE ESTATE SALE Ç            senior living referral
                                                                       SCHOOL CROSSING GUARDS                                                      File No. FBN650391        I declare that all infor-        a complaint and any required ﬁling fee by the following deadline. Deadline for ﬁling the complaint: To Be
Move It Elsewhere
Estate Sale Sh’room
                                     service. Con- tact
                                     our trusted, local
                                    experts today! Our
                                                                                                                      Let someone                The following person(s)
                                                                                                                                                 is (are) doing business
                                                                                                                                                                             mation in this state-
                                                                                                                                                                             ment is true and cor-
                                                                                                                                                                                                              Determined
                                                                                                                                                                                                                  9. Creditors with a foreign address: If you are a creditor receiving notice mailed to a foreign address, you

                                                                                                                       else store
                                                                                                                                                                                                              may ﬁle a motion asking the court to extend the deadlines in this notice.Consult an attorney familiar with United
Going Out Of Business Sale          service is FREE/ no
                                     obligation. CALL                Rewarding PART TIME WORK
                                                                                                                                                 as: RON CARPENTER
                                                                                                                                                 MINISTRIES, 105 Nortech
                                                                                                                                                                             rect. (A registrant who
                                                                                                                                                                             declares as true infor-          States bankruptcy law if you have any questions about your rights in these cases.
Tues. to Sun. 11-4pm                                                   NO nights, NO weekends,
                                                                                                                       your junk.
Off Mon: 350 Lincoln Ave              1-800-550-4822                        NO holidays!
                                                                                                                                                 Parkway, San Jose, CA       mation which he or she               10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or liquidate according
 CASH ONLY!                               (CDCN)                                                                                                 95134,       Santa Clara    knows to be false is             to a plan. A plan is not effective unless the court conﬁrms it.You may receive a copy of the plan and a disclosure
 95% off White tags!                                             MUST work a brief AM and PM shift                                               County. The business is     guilty of a crime.)              statement telling you about the plan, and you may have the opportunity to vote on the plan. You will receive
 50% off Green tags!                                               NO EXPERIENCE NECESSARY                                                       owned by: a corpora-           /s/ Donna DeGrande,           notice of the date of the conﬁrmation hearing, and you may object to conﬁrmation of the plan and attend the

                                                               TRAINING PROVIDED                                                         tion. The name and res-                   HRSPI, Inc.        conﬁrmation hearing. Unless a trustee is serving, the debtors will remain in possession of the property and may
SOUTH SAN FRAN CISCO
363 Altamont Dr./J. Serra Blvd.
                                                                       RETIREES WELCOME                  Sell it all in the                      idence address of the
                                                                                                                                                 owner(s)/registrant(s)
                                                                                                                                                                                          CEO/Owner
                                                                                                                                                                             Article/Registration
                                                                                                                                                                                                              continue to operate their business.

                                                                                                         Mercury News
                                                                                                                                                                                                                  11. Discharge of debts: Conﬁrmation of a chapter 11 plan may result in a discharge of debts, which may in-
    Fri - Sun 10-4
PACKED MULTI - ESTATE
  GERMANY TO MEXICO
                                      ’
                                      Sell your stuff in
                                                                  For more information, please call
                                                                      Mary Mehari 650-690-6651
                                                                   or Alan Stone 415-844-0223 with
                                                                  ALL CITY MANAGEMENT SERVICES.            Classified.
                                                                                                                                                 is: Ronald W Carpenter
                                                                                                                                                 Jr Ministries Inc. 105
                                                                                                                                                 Nortech Parkway, San
                                                                                                                                                                             #A0823611. Above enti-
                                                                                                                                                                             ty formed in the State of
                                                                                                                                                                             CA. This statement was
                                                                                                                                                                                                              clude all or part of your debt.See 11 U.S.C.§ 1141(d).A discharge means that creditors may never try to collect the
                                                                                                                                                                                                              debt from the debtors except as provided in the plan. If you want to have a particular debt owed to you excepted
                                                                                                                                                                                                              from the discharge under 11 U.S.C.§ 1141(d)(6)(A), you must start a judicial proceeding by ﬁling a complaint and
See Website-Photos/Info                                                                                                                          Jose, CA 95134.             filed with the Co. Clerk-
                                   Mercury News Classified.        Apply online at acmssafety.com                                                                                                             paying the ﬁling fee in the bankruptcy clerk’s ofﬁce by the deadline.
 www.theYESco.com                                                                                                                                The     registrant/owner    Recorder of Santa Clara
                                                       Case: 19-30088                         Doc# 522-5 Filed: 02/20/19                                     Entered: 02/20/19 18:38:39                                               Page 7
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